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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF DELAWARE

 

GENENTECH, INC. and CITY OF HOPE,

C.A. No. 19-638-CFC

Plaintiffs and Counterclaim Defendants,
Vv.

PFIZER INC.,

Defendant and Counterclaim Plaintiff.
PFIZER INC.,

 

Counterclaim Plaintiff,
v.

HOFFMANN-LA ROCHE, INC.,

Counterclaim Defendant.

 

 

JOINT STIPULATION OF DISMISSAL

This stipulation is made by and between Plaintiffs Genentech, Inc. and City of Hope
(collectively, “Plaintiffs”), Defendant Pfizer Inc. (“Defendant”), and Counterclaim Defendant
Hoffmann-La Roche, Inc. (all collectively, “the Parties”).

WHEREAS, Plaintiffs and Defendant have asserted various claims and counterclaims in
the above-captioned case; and

WHEREAS, the Parties have entered into a settlement agreement, and mutually agree to
voluntarily dismiss all claims and counterclaims asserted in the above-captioned case without
prejudice;

NOW THEREFORE IT IS HEREBY JOINTLY STIPULATED by the Parties that:

1. Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), all claims,
counterclaims, and demands asserted in the above-captioned case are hereby dismissed without

prejudice; and

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2. Each party will bear its own attorneys’ fees and costs with respect to the above-_

captioned case.

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Dated: September 19, 2019
Respectfully submitted,

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